                 EXHIBIT
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From:             Joanna Makris
To:               rob.beranek@clevelandcliffs.com; jet@mtfn.com; aperellis@perellislaw.com
Cc:               George Bellas; Jillian Tattersall; "Jennifer Meier Cjenn .meier@comcast.netl"; Lawrence Fromelius
Subject:          Notice of Objection to Expenditure from Escrow Account #1154688
Date:             Thursday, June 10, 2021 3:28:59 PM
Attachments:      2021-06-10 Objections to Withdrawal.pdf


Good afternoon,


Our office represents Mr. Fromelius and East Greenfield Investors LLC.


Attached please find our correspondence concerning the above-referenced escrow account number.


Best Regards,


~
Joanna Makris
Paralegal
BELLAS     &: WACHOWSKI
15 North Northwest Highway
Park Ridge, Illinois 60068
Direct: l -84 7-823-9036
Office: l -847-823-9030 x216
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George S. Bellas                                                                         \Vriter 's Direct Dial:
Peter C. \Vachowsl<i                                                                      l-84 7-823-9032
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                                                              June 10, 2021
Cliffs Mining Company                                                   Joseph E. Tierney, III
c/o Cleveland-Cliffs Headquarters                                        Meissner Tierney Fisher&: Nichols S.C.
200 Public Square, Suite 3300                                            lll E. Kilbourn A venue, i9rh Floor
Cleveland, OH 44114 -2315                                                Milwaukee, WI 53202
        ( Srnt via cmai I to Roh.Bera11eli@clevcla11dcli[f.1.co111 )           (Sent via email to jet@mtfn.com )
        ( Srnt via Certified Mail 70162710000109272586 )                       (Sent via Certified Mai 170162710000109272661)


Andre\v Perellis                                                        Chicago Title Insurance Company
Perellis &: Associates, LLC                                             20900 Swenson Drive, Suite 900
2549 Waukegan Road, PMB 10034                                           Waukesha, WT 53186
Bannockburn, TL 60015                                                          ( Srnt via US Mail)
        ( Srnr via email l.o apcrd1i s@perc/1is1aw.com )                       (Sent via Certified Mail 70162710000109272685)
        ( Sem via Ccrrified Mail 70162710000109272678 )


  NOTICE OF OBJECTION TO EXPENDITURE FROM ESCROW ACCOUNT # 1154688

Acting pursuant to Section 3 of that certain Escrow Agreement dated as of August 31, 2006 by and
among East Greenfield LLC, an Illinois limited liability company ("East Greenfield" or "EGT"),
Cliffs Mining Company, a Delaware corporation ("Cliffs") , and Chicago Title In surance Company,
a Missouri corporation acting as escrow agent (the "Escrow Agent "), as amended in the EGT/Cliffs
Settlement Agreement dated as of August 31, 2017, East Greenfield is hereby providing prompt
objections to Cliffs and the Escrow Agent that it objects to the entirety of the requested
expenditure from the above referenced escrow account, partial notice of which was received by
EGI on May 14, 2021 and full notice of which v.ras received by supplemental email on May 19, 2021.

According to Cliffs' notice, the requested amount is for all funds remaining in escrow and the
payment is directed to Wisconsin Gas LLC, as a provider of services "performing rem edial
activities required or otherwise approved or authorized by EPA in payment for the performance
of such services. " In support of this withdrawal, Cliffs completed its Notice of Withdra\~1al via the
provision of a Settlement document allocating funds to Wisconsin Electric Power Company and
Wisconsin Gas, LLC ("WI Gas").

Upon information and belief, WI Gas is not "a provider of services "performing remedial activities
required or otherwise approved or authorized by EPA in payment for the performance of such
services." According to Wisconsin Gas LLCs self-provided information with Dun&: Broadstreet:

                   Wisconsin 's cold winters would be that much colder without
                   Wisconsin Gas ' steady supply of natural gas to residential,




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                      commercial, and industrial customers across that state. The
                      company provides natural gas and ancillary services. Wisconsin
                      Gas (in combination with sister companies Wisconsin Electric
                      Power and Edison Sault) serves more tban 1 million natural gas
                      customers. The utility operates about 10,800 miles of gas mains.
                      Wisconsin Gas distributes 40% of the natural gas consumed in
                      Wisconsin. Along with Wisconsin Electric Power, it is a subsidiary
                      of regional utility holding company WEC Energy. The nvo
                      subsidiaries use the trade name \ 7\Te Energies.1

Moreover, the Settlement Agreement and other supporting documentation provided to EGI
specifically indicate that the withdrawal is both speculative and provided for potential future
costs incurred.

The terms of the August 31, 2006 Escrmv Agreement and the August 31, 2017 do not allow for
speculative withdrawals nor do they allow for th e withdrawal of fund s to be paid to individu als
or companies not in the business of providing remediation services as required by the EPA

For these reasons, EGT respectfully objects to the withdrawal of any and all funds from the above
referenced Escrow account and requests that Chicago Title Insurance Company, in its capacity as
Escrow agent, not release such funds.

                                                                              Very truly yours,

                                                                                ~xi~
                                                                              George Bellas
                                                                              Attorney at La\v

cc:        East Greenfield Investors, LLC , c/o Larry Fromelius




1 https ://www. dnb.com/business-d i rectory /co mpany-profiles .wisconsin_gas _Ilc.1395d b78 la507dcb3 78eec121 bcaee95. htm I




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